                                                                                          FILED
                      UNITED STATES DISTRICT COURT                                    MAY O1 2020
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION                                       PETER A. MOORELiJR., Cl.ERi(
                                                                                BYUSDIS~T,       EDNC
                                                                                  _ _,_,_.,..__DEPCLI
                                  CASE NO: 5:20-MJ- \ 5 Q    1
 UNITED STATES OF AMERICA                   )
                                            )
       V.                                   )
                                            )    CRIMINAL INFORMATION
 KEVIN W. TERRY                             )
                                            )

    The United States Attorney charges:


                                     COUNT ONE

        THAT, on or about December 17, ,2019, on the Fort Bragg Military

 Reservation, an area within the special maritime and territorial jurisdiction of the

 United States, and within the Eastern District of North Carolina, KEVIN W.

 TERRY, did unlawfully, knowingly, and intentionally possess methamphetamine, a

 Schedule II controlled substance, in violation of Title 21, United States Code,

 Section 844(a).

                                     COUNT TWO

        THAT, on or about December 17, 2019, ori the Fort Bragg Military

, Reservation, an area within the special maritime and territorial jurisdiction of the

 United States, and within the Eastern District of North Carolina, KEVIN W.

 TERRY, did unlawfully, knowingly, and intentionally possess marijuana, a

 Schedule I controlled substance, in violation of Title 21, United States Code, Section

 844(a).




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                          ROBERT J. HIGDON, JR.
                          UNITED STATE~ATTORNEY
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                          BY.
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